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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


SECURITIES AND EXCHANGE COMMISSION,

                       Plaintiff,

     v.                                       No. 1:23-cv-1346 (JSR)

TERRAFORM LABS PTE LTD. and
DO HYEONG KWON,

                       Defendants.


            SUPPLEMENTAL BRIEF IN SUPPORT OF THE SEC’S
          MOTION FOR FINAL JUDGMENT AGAINST DEFENDANTS
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       Plaintiff Securities and Exchange Commission (“SEC”) respectfully submits this

supplemental brief in response to the supplemental briefs of Terraform (ECF No. 244) (“Def.

Supp.”) and Kwon, who adopts Terraform’s arguments by reference (ECF No. 245).

I.     Morrison Does Not Limit Disgorgement for Defendants’ Illegal Conduct

       Defendants have never previously argued that this case involves the impermissible

extraterritorial application of federal securities laws. 1 Now, after having been held liable,

Defendants belatedly assert that the remedies the Court should impose for their violations of U.S.

law must be essentially extinguished due to the Supreme Court’s decision in Morrison v.

National Australia Bank Ltd., 561 U.S. 247 (2010). Defendants’ arguments lack merit as they

rely on a misapplication of the law and misstatement of the relevant facts. Congress overrode

Morrison in part, to ensure that the SEC could pursue those who, like Defendants, commit

securities fraud with substantial effects in the United States or who engage in fraudulent conduct

in the United States even if relevant securities transactions occur abroad.

       Morrison considered the extraterritorial reach of Section 10(b) of the Securities Exchange

Act of 1934 (“Exchange Act”). Before Morrison, courts had used two tests to determine whether

particular conduct was actionable under the U.S. securities laws. The “effects test” examined

“whether the wrongful conduct had a substantial effect in the United States or upon United States

citizens,” and the “conduct test” examined “whether the wrongful conduct occurred in the United




1
  Federal Rule of Civil Procedure 12(h) provides that—aside from in a motion to dismiss—a
failure to state a claim upon which relief can be granted defense can be raised in the answer, a
motion for judgment on the pleadings, or at trial. 1. Defendants asserted extraterritoriality as a
defense in their answer but never pursued that defense on summary judgment or at trial and only
raised their Morrison argument at the remedies stage. See Arbaugh v. Y&H Corp., 546 U.S. 500,
507 (2006) (“The objection that a complaint fails to state a claim upon which relief can be
granted, Rule 12(b)(6), may not be asserted post-trial. Under Rule 12(h)(2), that objection
endures up to, but not beyond, trial on the merits.”) (cleaned up).
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States.” Morrison, 561 U.S. at 257 (cleaned up). Before Morrison, courts considered these so-

called “conducts and effects” tests to be jurisdictional. Id. at 253-54.

          Morrison first explained that the extraterritorial application of the Exchange Act was not

a matter of jurisdiction, but simply an issue about the scope of the Act. Id. It then rejected the

“conducts and effects” test and held that Section 10(b) applies only to “transactions in securities

listed on domestic exchanges, and domestic transactions in other securities.” Id. at 267. While

Morrison was before the Supreme Court, Congress was considering legislation to amend the

securities laws. That legislation became Dodd-Frank, which was signed into law in July 2010,

one month after Morrison was decided. Section 929P(b) of the act addressed the extraterritorial

application of both the Securities Act of 1933 (“Securities Act”) and the Exchange Act. 124 Stat.

1376, 1864-1865; see also 15 U.S.C. § 78aa(b). The provision codified for SEC enforcement

actions the longstanding court of appeals precedent that district courts have subject-matter

jurisdiction over securities frauds that satisfy the conduct-and-effects test. Id. 2

          These amendments were not merely addressing subject matter jurisdiction—they clearly

intended to expand the reach of these acts in SEC actions beyond that which had been prescribed

by Morrison. 3 Defendants’ argument, that Section 929P of Dodd-Frank failed to codify the

conduct-and-effects test for SEC enforcement actions because it was supposedly mislabeled as a

“jurisdictional” provision, makes no sense. In Morrison itself, the Court had clarified that a

federal statute is presumed to apply only domestically unless there is an “affirmative indication”

that the statute “applies extraterritorially.” 561 U.S. at 265. The “affirmative indication” required


2
    See also H.R. Rep. No. 111-687(I) (2010) at 80.
3
 The text and structure of the section at issue reinforce that understanding. Its title,
“Strengthening Enforcement By The Commission,” indicates that Congress intended to define
the substantive scope of the SEC’s enforcement powers, not merely the jurisdiction of the courts.
124 Stat. 1862.

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to rebut the presumption, however, need not come in the form of a “‘clear statement.’” Id. That

is, there is no “requirement that a statute say ‘this law applies abroad.’” Id. (citation omitted); see

RJR Nabisco, Inc. v. Eur. Cmty., 579 U.S. 325, 340 (2016) (“[A]n express statement of

extraterritoriality is not essential.”). Instead, the “affirmative indication” can come through

inferences from “context” or other “sources of statutory meaning.” Morrison, 561 U.S. at 265.

       In SEC v. Scoville, the Tenth Circuit held that in enacting Section 78aa(b), “Congress has

‘affirmatively and unmistakably’ indicated that the antifraud provisions of the federal securities

acts apply extraterritorially when the statutory conduct-and-effects test is met.” 913 F.3d 1204,

1218 (10th Cir. 2019). Scoville rejected the same argument that Defendants make here based on

“the specific context in which Congress enacted the 2010 jurisdictional amendments as part of

the Dodd-Frank Act.” Id. at 1215-16. As the Supreme Court has held, “it is true that Congress,

even in a jurisdictional provision, can indicate that it intends federal law to apply to conduct

occurring abroad.” Kiobel v. Royal Dutch Petroleum Co., 569 U.S. 108, 117, (2013). 4

       Thus, Defendants’ argument that “Scoville is wrong for the simple reason that it departed

from the statute’s plain text,” Def. Supp. at 2, is itself wrong. Scoville did not ignore the text—it

concluded from the statute’s text what Congress meant to do. And it held that, in determining




4
 See also SEC v. Morrone, 997 F.3d 52, 60 n.7 (1st Cir. 2021) (recognizing Scoville’s holding);
Meng-Lin Liu v. Siemens A.G., 978 F. Supp. 2d 325, 328 (S.D.N.Y. 2013), aff’d sub nom Liu
Meng-Lin v. Siemens AG, 763 F.3d 175 (2d Cir. 2014) (recognizing that Section 78aa(b)
“permits the SEC to bring enforcement actions for certain conduct or transactions outside the
United States”); SEC v. Gruss, 859 F. Supp. 2d 653, 664 (S.D.N.Y. 2012) (Section 78aa(b)
permits the SEC to bring civil “actions extraterritorially in certain cases.”). Defendants cite two
district court cases for the proposition that Dodd-Frank did not overrule Morrison. Def. Supp. at
1-2. Yet, neither case reached such a conclusion. See SEC v. Chicago Convention Ctr., LLC, 961
F. Supp. 2d 905, 916-17 (N.D. Ill. 2013) (ruling that the Court did not need to resolve the
question because the SEC’s complaint survived under either Morrison or the conduct-and-effects
test); SEC v. Brown, 2015 WL 1010510, at *5 (N.D. Ill. Mar. 4, 2015) (same).


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whether current law imposes liability for securities fraud in connection with foreign transactions,

Section 78aa(b) provides a more reliable and specific indication of congressional intent than does

the general presumption against extraterritoriality. 913 F.3d at 1215-16.

       Defendants’ argument makes no sense for additional reasons. In Morrison, the Court held

that district courts already had subject matter jurisdiction to adjudicate whether Section 10(b)

applies to “particular extraterritorial conduct.” 561 U.S. at 254. Under Defendants’ theory,

Section 78aa(b) added nothing to the jurisdiction that federal courts already possessed—

Congress instead enacted a statutory provision that had no practical effect at all. 5

       Defendants next attempt to claim that, even if the Court were to apply the conduct-and-

effects test of Section 78aa(b), their U.S.-based conduct did not “constitute significant steps in

furtherance” of their violations and that their “conduct occurring outside the United States” did

not have “a foreseeable substantial effect within the United States.” See Def. Supp. Br. at 2-5.

This fallback argument ignores substantial record evidence going to both tests. For example,

Terraform’s then-head of communications, Brian Curran, a U.S. employee who worked from

California, posted a series of false and misleading tweets at Kwon’s direction that credited

UST’s recovery of its $1 peg to its algorithm. These false statements misleadingly omitted the




5
 Moreover, Section 78aa(b)(1) explicitly applies to conduct “even if the securities transaction
occurs outside the United States and involves only foreign investors.” But such conduct is the
very conduct that Morrison held did not violate the securities laws. Giving the district courts
jurisdiction over a class of suits that could not have been brought anyway (as Defendants would
have it) would make no sense. See SEC v. Traffic Monsoon, LLC, 245 F. Supp. 3d 1275, 1293
(D. Utah 2017) (“It would be pointless to clarify that district courts had jurisdiction to hear
Section 10(b) and 17(a) claims based on certain extraterritorial transactions unless Congress also
intended that these statutes be applied extraterritorially”), aff’d sub nom. Scoville, 913 F.3d at
1204. It is a cardinal principle of statutory construction that a statute ought, upon the whole, to be
so construed that, if it can be prevented, no clause, sentence, or word shall be superfluous, void,
or insignificant.” TRW Inc. v. Andrews, 534 U.S. 19, 31 (2001) (cleaned up)


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secret role that an agreement with a U.S.-based firm (Jump) played in the peg’s restoration. See

SEC Reply at 6-7 (ECF No. 240); 6 see also In re Vivendi Universal, S.A., 2004 WL 2375830, at

*4 (S.D.N.Y. Oct. 22, 2004) (conducts test satisfied when press releases alleged to have been

false and misleading were issued from New York). Moreover, when Terra’s ecosystem collapsed

and $14 billion in UST deposited in the Anchor Protocol alone was wiped out, see SEC Resp. at

1, the U.S.-based falsehoods directly caused harm to the U.S.-based investors who held UST. 7

       Incredibly, Defendants also claim that their secret agreement with Jump—a U.S. based

company—"was not ‘in furtherance of’ the alleged fraud” because it predated Defendants’ false

statements about the agreement. Def. Supp. at 4. As a matter of logic, the concealed agreement

obviously occurred before Defendants issued false statements about the agreement. However, it

defies reason to suggest that this agreement, designed to hide that the so-called “automatically

self-heal[ing]”” algorithm (PX 59b) did not work, and thereby encourage investors to buy UST

and LUNA, was not in furtherance of the fraud. It was the centerpiece of the fraud.

       Defendants also ignore the substantial foreseeable effects that their conduct had in the



6
 Bizarrely, Defendants suggest that because Kwon was in Korea when he directed Curran to post
these false statements on Twitter that the conduct occurred “abroad.” Def. Supp. at 4.
7
 Defendants also claim (at 3-5) that their other activities in the U.S., including Kwon lying to
Jonathan Kol, a U.S. resident, about Chai’s supposed use of Terraform’s blockchain to facilitate
payments, Trial Tr. 349-50; Tr. 356-58; Tr. 360-362 do not constitute wrongful conduct in the
U.S. under the conduct test. But Kol’s testimony that Kwon’s (false) representations about Chai
were important in his company’s decision to purchase millions of dollars in LUNA from
Terraform alone meets the test. Id.; Tr. 372-373. And this is to say nothing of Kwon’s touting of
UST at an investor conference in New York in September 2021, four months after Defendants
began misrepresenting the circumstances of the May 2021 depeg, Landsman MSJ Decl. Ex. 112
(ECF No. 75-3 at 24). Kwon’s false and misleading statements made in U.S. media to U.S.
investors, see, e.g., PX 100 (Kwon false statements regarding Chai in an interview with U.S.-
based media publication, the Tokenist), also further establishes the conduct prong of Section
78aa(b). By broadcasting their fraudulent statements through mediums such as Twitter, Medium,
and Discord they were broadcasting their statements to potential investors in the U.S. See
generally, Amended Pretrial Order at 21-24 (ECF No. 217).

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U.S., which are detailed in the SEC’s Remedies Reply. SEC Reply at 5-8. The Second Circuit

has recognized under the “effects test” that, even if a relatively small number of U.S. investors

purchased securities in connection with a fraud, that can constitute substantial effects, especially

if misleading offering statements are transmitted to the U.S. See Consol. Gold Fields PLC v.

Minorco, S.A., 871 F.2d 252, 262 (2d Cir.) (cleaned up), amended, 890 F.2d 569 (2d Cir. 1989).

       Terraform sold more than net $1.1 billion in UST to investors on Binance and $449

million on KuCoin, crypto trading platforms available to U.S. investors, during the June 2021 to

May 2022 period that Defendants were making misstatements in the U.S. about the stability of

UST. Supplemental Declaration of Donald Battle (“Battle Suppl. Decl.”) ¶¶ 7, 10. 8 The

disgorgement of these profits is indisputably “a reasonable approximation of profits causally

connected to the violation.” SEC v. Fowler, 6 F.4th 255, 267 (2d Cir. 2021) (cleaned up).

II.    The SEC has Accounted for Defendants’ Criticism of the Disgorgement Calculation

       Defendants have also challenged the SEC’s calculation of one of the four components of

disgorgement, Terraform’s sales of UST to investors through crypto asset trading platforms. Def.

Opp. Br. 7 (ECF No. 238); James Eastman Decl. (“Eastman Decl.”) ECF No. 241 at ¶¶ 9, 11.

The SEC agrees with the two changes to its calculations suggested by Defendants. 9

       These two changes had the effect of increasing the gross amount of UST sold by



8
 Finally, even if the Court concluded that the conducts-and-effects test does not apply to this
case, with respect to the SEC’s Securities Act Section 5 claims, the record evidence shows
domestic offers and sales under Morrison, as interpreted by the Second Circuit in Williams. See
Williams v. Binance, 96 F.4th 129, 133 (2d Cir. 2024); SEC Reply at 7-10. Defendants’
argument that their conduct is beyond the reach of the U.S. securities laws is entirely meritless.
9
 The two changes involved incorporating transactions from fields in the trading data mislabeled
as “cancelled” or “expired” when, in fact, at least a portion of those orders were filled; and
removing transactions that one crypto asset trading platform labeled “UST” even though it
corresponded to transactions in another crypto asset. See generally Battle Suppl. Decl. ¶¶ 4-9;
Eastman Decl. ¶¶ 4, 5.

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Terraform, from $4,286,435,254 to $5,101,336,797. Battle Supp. Decl. ¶ 11. They also have the

effect of decreasing the net sales of UST to $1,684,001,305, given Terraform’s purchases of

UST. As explained previously (ECF No. 232 at 13), Terraform’s own purchases do not qualify as

legitimate business expenses that should be deduced from disgorgement under Liu v. SEC, 591

U.S. 71, 84-85 (2020) and, despite having the burden of proof on the issue of proper deductions

Fowler, 6 F.4th at 267, Defendants fail to argue otherwise. They instead assert, with no basis in

law, that Terraform’s purchases of LUNA and MIR should be deducted from their ill-gotten UST

sales. Def. Opp. Br. at 7. The Court would be therefore fully justified in ordering as

disgorgement the increased gross amount of Terraform’s sales of UST ($5,101,336,797) and

MIR and LUNA (over $28 billion). Battle Supp. Decl. ¶¶ 11-12. 10

       The SEC nevertheless seeks only the net UST sales, despite Liu supporting a larger

disgorgement order. For the foregoing reasons, and those in our prior briefing, the Court should

find Defendants jointly and severally liable for $1,684,001,305 in ill-gotten gains from

Defendants’ net sales of UST (Battle Suppl. Decl. ¶ 11) and total revised disgorgement of

$3,586,875,883. See ECF No. 232 at 9 (describing three other components of disgorgement). 11

                                         CONCLUSION

       For the foregoing reasons, and those in our opening and reply briefs, the Court should

grant the SEC’s Motion for Final Judgment against Defendants.




10
  Defendants oddly argue that “the SEC fails to identify any UST sales that occurred during
Anchor’s operation,” Def. Opp. Br. 7 n.19, but the UST sales that the SEC seeks as disgorgement
occurred from June 1, 2021 through May 2022, all times that the Anchor Protocol was
operational. Battle Supp. Decl. ¶ 11; PX 225 (showing Anchor launched in March 2021); PX 81.
11
  The SEC will submit a revised prejudgment interest calculation after the Court determines the
appropriate disgorgement amount.


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Dated: May 6, 2024                 Respectfully submitted,


                                   /s/ Christopher J. Carney
                                   Christopher J. Carney
                                   James P. Connor, admitted pro hac vice
                                   Carina A. Cuellar, admitted pro hac vice
                                   Roger J. Landsman, admitted pro hac vice
                                   Laura E. Meehan
                                   Devon L. Staren, admitted pro hac vice
                                   Attorneys for Plaintiff
                                   U.S. SECURITIES AND EXCHANGE
                                   COMMISSION
                                   100 F Street NE
                                   Washington, DC 20549
                                   Tel: (202) 551-2379
                                   Email: carneyc@sec.gov

Of Counsel:

Alistaire Bambach
Michael Kelly
Therese A. Scheuer
William M. Uptegrove




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